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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IBRAHIM DONMEZ,

                                  Plaintiff,
                                                                  20-CV-5586 (LLS)
                      -against-
                                                                       ORDER
NYC DEPARTMENT OF CONSUMER
AFFAIRS, et al.,

                                  Defendants.

LOUIS L. STANTON, United States District Judge:

         By order dated October 5, 2020, the Court granted Plaintiff 30 days’ leave to file an

amended complaint, not to exceed 20 pages. The Court cautioned Plaintiff that failure to comply

with the October 5, 2020 order would result in dismissal of the action for failure to state a claim.

On October 23, 2020, the Court received Plaintiff’s “motion requesting modification of order to

amend.” (ECF No. 14.) The motion is denied. The Court grants Plaintiff an additional 30 days

from the date of this order to file his amended complaint. No further extensions shall be granted.

SO ORDERED.

Dated:     November 6, 2020
           New York, New York

                                                                 Louis L. Stanton
                                                                    U.S.D.J.
